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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -------------------------------------------------------------X
  MARGARET SHAKESPEARE, on behalf
  of herself and all others similarly situated,

                                     Plaintiff,                    REPORT AND
                                                                   RECOMMENDATION
                   -against-                                       CV 18-7299 (SJF)(AYS)

  LIVE WELL FINANCIAL, INC.,
  COMPU-LINK CORP., doing business as
  CELINK, and REVERSE MORTGAGE
  FUNDING, LLC.,

                                      Defendants
  -------------------------------------------------------------X
  SHIELDS, Magistrate Judge:

          This is an action commenced by Plaintiff, Margaret Shakespeare (“Plaintiff” or

  “Shakespeare”), against Defendants Live Well Financial, Inc. (“Live Well”), Compu-Link

  Corporation, d/b/a/ Celink (“Celink”) and Reverse Mortgage Funding, LLC (“RMF”). See

  Docket Entry herein (“DE”) [1]. Live Well is presently in bankruptcy, in an involuntary

  proceeding pending in the District of Delaware. See DE [100]. 1 This matter continues against the

  remaining Defendants.

          Plaintiff owns property upon which she obtained a home equity conversion loan (the

  “Loan”) and, in connection therewith, entered into a Home Equity Conversion Mortgage (the

  “HECM” or the “Mortgage”). The HECM is a mortgage instrument akin to those commonly




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          Live Well’s counsel has been relieved from representing Live Well herein. Since entering
  bankruptcy, Live Well has not engaged new counsel. Plaintiff has not discontinued this matter as
  against Live Well. She states that she will continue to monitor the bankruptcy proceedings, and if
  appropriate, may file a motion in that proceeding to lift the stay imposed therein. See Electronic
  Order dated June 20, 2019; DE [100].
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  referred to as “reverse” mortgages. The instruments are similar in that, generally, both require no

  payment by the borrower until either the death of the borrower or transfer of the mortgaged

  property.

         Plaintiff’s claims are based upon the alleged improper and unlawful payment of property

  taxes on her home by Live Well in 2016. Briefly stated, Plaintiff alleges that the payment of her

  taxes took place without justification or notice, and that such payment resulted in the unlawful

  assessment of fees adding to the total of Plaintiff’s Loan. Styling this action as a class action

  pursuant to Rules 23(a)(b)(2) and (b)(3) of the Federal Rules of Civil Procedure, Plaintiff alleges

  a “policy and practice of improperly paying the property taxes of homeowners” with HECM’s

  without authority or proper notice. She alleges claims for breach of contract, breach of the

  implied covenants and duties of good faith and fair dealing, unjust enrichment, and pursuant to

  Section 349 of the General Business Law of the State of New York, N.Y. Gen. Bus. L. §349

  (“Section 349”).

         The Honorable Sandra J. Feuerstein has referred three motions for Report and

  Recommendation to this Court. Those documents appear at Docket Entries [82], [83] and [109].

  This Court held oral argument on the motions on February 4, 2020. This Report and

  Recommendation addresses the motion to dismiss of Celink, appearing as Docket Entry [109]

  herein, pursuant to Rule 12(b)(1) of the Federal Rules of Civil Procedure. For the reasons set

  forth below (as summarized at oral argument), this Court respectfully recommends that Celink’s

  motion to dismiss, be denied. 2



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         This report and recommendation addresses Celink’s motion appearing at Docket Entry
  [109]. Celink’s motion appearing at Docket Entry No. [83] will be addressed in a separate report
  and recommendation.
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                                             DISCUSSION

  I.     Legal Principles

         A.      Standards on Rule 12(b)(1) Motion to Dismiss

         Pre-answer motions to dismiss for lack of standing are governed by Federal Rule of Civil

  Procedure 12(b)(1). See Fed. R. Civ. P. 12(b)(1) (permitting dismissal for “lack of subject-matter

  jurisdiction”); Carter v. HealthPort Techs., LLC, 822 F.3d 47, 56 (2d Cir. 2016) (noting that a

  plaintiff must have standing under Article III of the Constitution to invoke a federal court's

  subject-matter jurisdiction). As the party invoking the court's jurisdiction, Plaintiff bears the

  burden of proof of establishing standing. Carter, 822 F.3d at 56 (citing Lujan v. Defenders of

  Wildlife, 504 U.S. 555, 561 (1992). Thus, at the pleading stage, Plaintiff must allege “facts that

  affirmatively and plausibly suggest” standing to sue. Carter, 822 F.3d at 56 (quoting Amidax

  Trading Grp. v. S.W.I.F.T. SCRL, 671 F.3d 140, 145 (2d. Cir. 2011)). Where, as here, a Rule

  12(b)(1) motion is based solely on the allegations of the complaint, the court accepts as true

  those allegations and draws all reasonable inferences in favor of Plaintiff. Carver v. City of New

  York, 621 F.3d 221, 225 (2d Cir. 2010); Disability Rights New York v. New York State, No. 17-

  CV-6965, 2019 WL 2497907, at *4 (E.D.N.Y. June 14, 2019) (report and recommendation).

         B.      Standing

         To have standing under the Constitution Plaintiff must show: “(1) injury-in-fact, which is

  a ‘concrete and particularized’ harm to a ‘legally protected interest,’; (2) causation in form of a

  ‘fairly traceable’ connection between the asserted injury-in-fact and the alleged actions of the

  defendant; and (3) redressability, or a non-speculative likelihood that the injury can be remedied

  by the requested relief.” Disability Rights, 2019 WL 2497907, at *4 (E.D.N.Y. June 14, 2019)



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  (quoting W.R. Huff Asset Mgmt. Co. v. Deloitte & Touche LLP, 549 F.3d 100, 106-07 (2d Cir.

  2008) (additional citation omitted) (emphasis omitted).

  II.       The Motion Should be Denied

            Celink argues that Plaintiff’s Complaint must be dismissed for lack of standing because

  Plaintiff cannot show, and has not properly alleged, injury traceable to the allegedly wrongful

  conduct. It is argued that the wrongful conduct alleged, i.e., the payment of Plaintiff’s property

  taxes, resulted in no harm to Plaintiff. In particular, Celink notes that any foreclosure fees added

  to Plaintiff’s loan cannot be causally related to the allegedly wrongful payment of taxes. It is also

  argued that because the loan at issue is a reverse mortgage, Plaintiff has no personal liability on

  the loan. It is accordingly argued that Plaintiff suffers no harm as a result of any fees added to the

  loan as a result of the allegedly premature tax payment. Plaintiff, relying on the light burden she

  bears at this juncture of the litigation, argues that she has properly alleged standing. The Court

  agrees.

            Plaintiff alleges that she has suffered injury as a result of fees added to her loan. Those

  fees were added, at least in part, because her property taxes were prematurely paid. While the

  Court is not reporting and recommending on the merits of Plaintiff’s claim against Celink, it does

  hold that Plaintiff has properly alleged standing at the pleadings stage. Accordingly, the Court

  recommends that Celink’s motion to dismiss, pursuant to Rule 12(b)(1), be denied.

                                          RECOMMENDATION

            For the foregoing reasons, the Court respectfully recommends that Defendant Celink’s

  motion to dismiss, appearing at Docket Entry [109] herein, be denied.




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                                            OBJECTIONS

         A copy of this Report and Recommendation is being provided to all counsel via ECF. Any

  written objections to this Report and Recommendation must be filed with the Clerk of the Court

  within fourteen (14) days of filing of this report. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 6(a),

  72(b). Any requests for an extension of time for filing objections must be directed to the District

  Judge assigned to this action prior to the expiration of the fourteen (14) day period for filing

  objections. Failure to file objections within fourteen (14) days will preclude further review of

  this report and recommendation either by the District Court or Court of Appeals. Thomas v. Arn,

  474 U.S. 140, 145 (1985) (“[A] party shall file objections with the district court or else waive

  right to appeal.”); Caidor v. Onondaga Cnty., 517 F.3d 601, 604 (2d Cir. 2008) (“[F]ailure to

  object timely to a magistrate’s report operates as a waiver of any further judicial review of the

  magistrate’s decision”).



  SO ORDERED.

  Dated: Central Islip, New York
         February 5, 2020
                                                                /s/ Anne Y. Shields
                                                                Anne Y. Shields
                                                                United States Magistrate Judge




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